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FILED

 

UNITED STATES OF AMERICA
UNSEALING ORDER

_ V. _
18 Cr. 904
NATALYA VLADIMIROVNA VESELNITSKAYA,

Defendant.

Upon the application of the United States, by the
United States Attorney for the Southern District of New York,
Geoffrey S. Berman, by Assistant United States Attorneys Paul M.
Monteleoni and Benet J. Kearney;

lt is found that the Indictment in the above-captioned
action, returned December 20, 2018, is currently sealed and the
United States Attorney's Office has applied to have that
Indictment unsealed as of lO:QO a.m. on January 8, 2019, and it
is therefore

ORDERED that this Order shall remain under seal until
lO:OO a.m. on January 8, 2019, at which time the Indictment in
the above~captioned action, and this Order, shall be unsealed
and remain unsealed pending further order of the Court.

Dated: New York, New York

l/’l/Q/Olci W#M

UNITED STATES MAGISTRATE JUDGE

 

